Case 8:23-ap-01046-SC           Doc    Filed 06/27/23 Entered 06/27/23 11:46:00              Desc Main
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 5                                                                       CLERK U.S. BANKRUPTCY COURT
                                                                         Central District of California
   Attorneys for Chapter 11 Trustee                                      BY bolte      DEPUTY CLERK
 6 RICHARD A. MARSHACK

 7
                                  UNITED STATES BANKRUPTCY COURT
 8
                      CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION
 9

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     In re                                                  Case No: 8-23-bk-10571-SC
11
                                                            Chapter 11
12 THE LITIGATION PRACTICE GROUP P.C.,
                                                            ORDER APPROVING STIPULATION FOR
13                                                          DISMISSAL OF EMERGENCY MOTION
                      Debtor.                               FOR ORDER AUTHORIZING THE
14
                                                            CHAPTER 11 TRUSTEE TO ENTER INTO
15                                                          AN EXPENSE REIMBURSEMENT
                                                            AGREEMENT WITH THE AD HOC
16                                                          COMMITTEE
17                                                          [MOTION – DK. NO. 102]
18                                                          Hearing:
                                                            Date:    June 28, 2023
19                                                          Time:    11:00 A.M.
                                                            Ctrm:    5C1
20

21            The Court has read and considered the stipulation (“Stipulation”) entered into by and

22 between Richard A. Marshack, in his capacity as Chapter 11 Trustee (“Trustee”) of the Bankruptcy

23 Estate (“Estate”) of The Litigation Practice Group P.C. (“Debtor”), the Office of the United States

24 Trustee (“UST”), and creditor Carolyn Beech in her capacity as lead plaintiff of a class action

25 lawsuit pending in Mississippi, filed on June 26, 2023, as Dk. No. 149, and has found good case to

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     ZoomGov: Video and audio connection information for each hearing will be provided on Judge
27 Clarkson's publicly posted hearing calendar, which may be viewed online at: http://ecf-
   ciao.cacb.uscourts.gov/CiaoPosted/?jid=SC, and then selecting “Judge Clarkson” from the tab on the
28
   left-hand side of the page.
                                                        1

     4887-5831-6646
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 1 approve the Stipulation.

 2       IT IS ORDERED:
 3            1.       Stipulation is approved in its entirety;
 4            2.       The Motion is dismissed under FRCP 41(a)(1)(A)(ii) and LBR 9013-1(k); and
 5            3.       The hearing on the Motion scheduled for June 28, 2023, at 11:00 a.m., is off calendar
 6 without the need for appearances.

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     4870-4728-5100, v. 1
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       Date: June 27, 2023
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     4887-5831-6646
